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           14      WAL-MART STORES, INC.
           15                                    UNITED STATES DISTRICT COURT
           16                                 NORTHERN DISTRICT OF CALIFORNIA
           17
                   CHARLES RIDGEWAY, JAIME FAMOSO,                  CASE NO. 3:08-cv-05221-SI
           18      JOSHUA HAROLD, RICHARD BYERS,
                   DAN THATCHER, WILLIE FRANKLIN,
           19      TIM OPITZ, FARRIS DAY, and KARL                  DEFENDANT WAL-MART STORES, INC.’S
                   MERHOFF,                                         AMENDED NOTICE OF APPEAL AND
           20                                                       REPRESENTATION STATEMENT
                                         Plaintiffs,
           21
                          v.
           22
                   WAL-MART STORES, INC., a Delaware
           23      corporation d/b/a WAL-MART
                   TRANSPORTATION LLC, and Does One
           24      through and including Doe Fifty,
           25                            Defendants.
           26      [Previously captioned as Bryan et al. v. Wal-
                   Mart Stores, Inc.]
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                               WAL-MART STORES INC.’S AMENDED NOTICE OF APPEAL AND REPRESENTATION STATEMENT
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               1                                  AMENDED NOTICE OF APPEAL
               2           Notice is hereby given that Wal-Mart Stores, Inc. (“Wal-Mart”), defendant in the above-named
               3   case, hereby amends its Notice of Appeal to the United States Court of Appeals for the Ninth Circuit,
               4   filed with this Court on May 12, 2017 (ECF No. 580), and docketed in the United States Court of
               5   Appeals for the Ninth Circuit as Case No. 17-15983.
               6           With this Amended Notice of Appeal, Wal-Mart hereby appeals from the final judgment entered
               7   in this action on January 25, 2017 (ECF No. 555), the order denying Wal-Mart’s motions for decerti-
               8   fication, a new trial, and judgment notwithstanding the verdict entered on May 1, 2017 (ECF No. 577),
               9   and all interlocutory orders that gave rise to the judgment, including, without limitation, the order
           10      granting Plaintiffs’ motion for precertification communication (ECF No. 56), the order certifying the
           11      class (ECF No. 158), the order granting partial summary judgment to Plaintiffs on their minimum wage
           12      claim (ECF No. 211), the order granting partial summary judgment to Plaintiffs on their Unfair Com-
           13      petition Law claim (ECF No. 286), the order denying Wal-Mart’s motion for decertification and grant-
           14      ing summary judgment to Plaintiffs on Wal-Mart’s preemption defense (ECF No. 405), and the order
           15      denying Wal-Mart’s motions to strike expert reports (ECF No. 417), as well as the order granting in
           16      part and denying in part Plaintiffs’ motion for attorneys’ fees and costs (ECF No. 606). In this
           17      Amended Notice of Appeal, Wal-Mart expressly incorporates its prior Notice of Appeal (ECF No.
           18      580).
           19              Wal-Mart’s Representation Statement is attached to this Amended Notice as required by Fed-
           20      eral Rule of Appellate Procedure 12(b), and Ninth Circuit Rules 3-2(b) and 12-2.
           21

           22      Dated: September 29, 2017                   GIBSON, DUNN & CRUTCHER LLP
           23
                                                               By: /s/          Theodore J. Boutrous, Jr.
           24                                                                  Theodore J. Boutrous, Jr.
           25                                                  Attorney for Defendant
                                                               WAL-MART STORES, INC.
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               1                                  REPRESENTATION STATEMENT
               2          The undersigned represents Defendant-Appellant Wal-Mart Stores, Inc. and no other party.

               3   Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and Circuit Rules 3-2(b) and 12-2,

               4   Wal-Mart submits this Representation Statement. The following list identifies all parties to the action,

               5   and also identifies their respective counsel by name, firm, address, telephone number, and e-mail,

               6   where appropriate.

               7    PARTIES                                             COUNSEL OF RECORD
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                        Case 3:08-cv-05221-SI Document 607 Filed 09/29/17 Page 4 of 4


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                                 WAL-MART STORES INC.’S NOTICE OF APPEAL AND REPRESENTATION STATEMENT
